Case 20-10478-mdc   Doc 2   Filed 01/27/20 Entered 01/27/20 11:12:43   Desc Main
                            Document Page 1 of 8
Case 20-10478-mdc   Doc 2   Filed 01/27/20 Entered 01/27/20 11:12:43   Desc Main
                            Document Page 2 of 8
Case 20-10478-mdc   Doc 2   Filed 01/27/20 Entered 01/27/20 11:12:43   Desc Main
                            Document Page 3 of 8
Case 20-10478-mdc   Doc 2   Filed 01/27/20 Entered 01/27/20 11:12:43   Desc Main
                            Document Page 4 of 8
Case 20-10478-mdc   Doc 2   Filed 01/27/20 Entered 01/27/20 11:12:43   Desc Main
                            Document Page 5 of 8
Case 20-10478-mdc   Doc 2   Filed 01/27/20 Entered 01/27/20 11:12:43   Desc Main
                            Document Page 6 of 8
Case 20-10478-mdc   Doc 2   Filed 01/27/20 Entered 01/27/20 11:12:43   Desc Main
                            Document Page 7 of 8
Case 20-10478-mdc   Doc 2   Filed 01/27/20 Entered 01/27/20 11:12:43   Desc Main
                            Document Page 8 of 8
